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LEGISLATIVA — ORDINARIA
LeyNim___ /4(g - 2O/¥

(Aprobada ende deo de 20/4)

(P. de Ja C. 1866)
(Conferencia)

LEY

Para enmendar el Articulo 5.12 de la Ley Nam. 404-2000, segtin enmendada, conocida
como “Ley de Armas de Puerto Rico”, a los fines de establecer que las aerolineas
comerciales que vuelen a Puerto Rico deberén notificar a la Policfa de Puerto Rico
cuando un pasajero importe a nuestro Pafs armas de fuego o municiones; y para
otros fines.

EXPOSICION DE MOTIVOS

Las violaciones a la Ley Nam. 404-2000, segan enmendada, conocida como “Ley de
Armas de Puerto Rico”, resultan ser una de las infracciones que con mds frecuencia se
cometen en Puerto Rico. La posesién y tenencia de armas de fuego en violacién a lo
dispuesto en la Ley de Armas, es uno de los problemas latentes y de mayor
preocupacién entre las autoridades gubernamentales y la ciudadania en general.
Siempre se ha planteado que un gran ntimero de los delitos de violencia que se reportan
en Puerto Rico tienen relacién directa con armas de fuego ilegales, en particular Jos —
casos de asesinato y de trasiego ilegal de sustancias controladas. Ello se manifiesta
diariamente a través de todos los medios noticiosos del pats.

Es de conocimiento general que existe un gran nttmero de personas que poseen
armas ilegalmente. Incluso se estima que en un afio existen alrededor de cincuenta mil
(50,000) armas de fuego clandestinas, y se confisca s6lo una infima cantidad de éstas. Y
en lo que compete a la cantidad de armas ilegales que existen en Puerto Rico, a lo largo
de varios afios la Camara de Representantes ha emprendido acciones legislativas para
estudiar dicha problemética, especfficamente desde la perspectiva de las armas ilegales
que han sido traidas a nuestro Pafs desde ottas jurisdicciones.

La transportaci6n de estas armas a nuestra jurisdiccién puede ocurrir a través de
distintos mecanismos, lo cual incluye el transporte mediante lineas aéreas comerciales.
Han sido motivo de discustén piblica los procesos que llevan a cabo las aerolineas pata
proveer informacién a la Policia de Puerto Rico sobre la entrada de armas a nuestro
Pais. Como parte de esa discusién se ha mencionado que una persona puede
transportar un arma de fuego a otro estado 0 territorio de los Estados Unidos, siempre y
cuando lo declare ante la aerolinea. Los requisitos para dicha transportacién son en
esencia sencillos. Las aerolfneas requieren que las armas de fuego que sean
transportadas vayan en la zona de equipaje, a la cual no tienen acceso los pasajeros del
avion; que esté descargada; y que se encuentre en una caja con seguro, entre otros
requisitos minimos. No obstante, es necesario adoptar pasos adicionales que aseguren

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que las aerolfneas proveeran informaci6n detallada de toda arma de fuego que un
pasajero traiga a Puerto Rico.

La seguridad del pais es de vital importancia para garantizar la calidad de vida
de nuestros hermanos puertorriquefios. No hay duda que la utilizaci6n de armas de
fuego ilegales en la comisién de delitos en Puerto Rico constituye un atentado contra la
seguridad del Estado y de sus ciudadanos. Ante esta realidad, esta Asamblea
Legislativa en el ejercicio de sus funciones considera necesario y pertinente como
medida de seguridad, establecer que las aerolineas comerciales que vuelan a Puerto
Rico tengan la obligacién, por ley, de notificar a la Policfa cuando un pasajero traiga un.
arma de fuego. Estableciendo esta polftica publica damos un paso més ef la lucha
contra el crimen y avanzamos en la direcci6n correcta.

DECRETASE POR LA ASAMBLEA LEGISLATIVA DE PUERTO RICO:

Artfculo 1.-Para enmendar el Articulo 5.12 de la Ley Nim. 404-2000, mejor
conocida como “La Ley de Armas de Puerto Rico”, para que lea como sigue:

“Articulo 5,12 - Notificaci6n por Porteador, Almacenista o Depositario de
Recibo de Armas; Penalidades:

Todo porteador maritimo, aéreo o terrestre, y todo almacenista o
depositario que a sabiendas reciba armas de fuego, accesorios o partes de éstas o
municiones para entrega en Puerto Rico, no entregaré dicha mercancfa al
consignatario hasta que éste le muestre su licencia de armas o de armero.
Después de cinco (5) dias laborables de la entrega, el porteador, almacenista o
depositario notificara al Superintendente, dirigiendo ia notificacién
personalmente © por correo certificado con acuse de recibo, el nombre, direccién
y ntmero de licencia del consignatario y el numero de armas de fuego o
municiones, incluyendo el calibre, entregadas, asi como cualquier otra
informacién que requiera el Superintendente mediante reglamento. Deberd,
ademdas, toda aerolinea comercial, que vuele a Puerto Rico y que haya recibido

_ armas de fuego y/o municiones de parte de un pasajero para transportarlas a
nuestro Pafs como parte de su equipaje, notificar a la Policia de Puerto Rico sobre
este importe, al momento que se le vaya a entregar dicha arma de fuego y/o
muuniciones al pasajero. La lfnea aérea suministrar4 a la Policfa el nombre del
pasajero, direccién, teléfono y demas informacién de contacto, ademas de la
cantidad, tipo, calibre y datos de registro de las armas y/o municiones que éste
transporte al Pafs, La Policia utilizara la informacién suministrada para
corroborar que dicho transporte cumple con las leyes y reglamentos aplicables en
Puerto Rico, Esta notificacion se hard de conformidad a Ja reglamentaci6n que la
Policia de Puerto Rico adopte para hacer cumplir los términos de esta Ley.

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Articulo 2.-Se faculta al Superintendente de la Policia de Puerto Rico para que en
un término de noventa (90) dfas adopte la reglamentaci6n necesaria a los fines de hacer
cumplir el propésito de esta Ley,

Artfculo 3,-Vigencia

Esta ley comenzaré a regir inmediatamente después de su aprobacién.

DEPARTAMENTO DE ESTADO
Certificaciones, Reglamentos, Registro
de Notarios y Venta de Leyes
Certifico que es copia fiel y exacta del original

Fecha: 3 de septiembre de 2014

ZF A

Francisco J. Rodriguez Bernier
Secretario Auxiliar de Servicios

Firma:

